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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SYLVIA SINGLETARY,

       Plaintiff,

v.                                                   Civil Action No.: 1:17-cv-01198 (TNM)

HOWARD UNIVERSITY,

       Defendant.

                                     NOTICE OF APPEAL

       Notice is hereby given this 19th day of October, 2018, that Sylvia Singletary, Plaintiff,

hereby appeals to the United States Court of Appeals for the District of Columbia Circuit from

the order and final judgment of this Court entered on the 26th day of September, 2018, in favor of

Defendant Howard University, against Plaintiff, dismissing this action with prejudice.

       The Plaintiff requests that the United States District Court Clerk serve notice of the filing

of this Notice of Appeal in accordance with Rule 3(d) of the Federal Rules of Appellate

Procedure.

                                              Respectfully submitted,
                                              SYLVIA SINGLETARY


                                              By:    /s/ James H. Shoemaker, Jr.

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Counsel for Plaintiff, Sylvia Singletary, D.V.M.

Dated: October 19, 2018
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 19th day of October, 2018, the foregoing was electronically
filed using the Court's CM/ECF system and thereby served on counsel of record as follows:

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Counsel for Defendant, Howard University

                                                     /s/ James H. Shoemaker, Jr.




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